Case 1:21-cv-01417-JPM Document 586 Filed 05/13/24 Page 1 of 2 PageID #: 28611




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


  QORVO, INC.,                                     )
                                                   )
           Plaintiff,                              )
                                                   )
                                                   )   Case No. 1:21-cv-01417-JPM
  v.                                               )
                                                   )
  AKOUSTIS TECHNOLOGIES, INC., and                 )
  AKOUSTIS, INC.,                                  )
                                                   )
           Defendants.


       ORDER ON OBJECTIONS TO GIOVAN’S TESTIMONY BY DEPOSITION



       The following objections to Parties’ Designations on the Transcript of Leah Giovan’s

September 29, 2023, Deposition Testimony are SUSTAINED:

       •    Defendants’ Objection to 28:18-29:4.

       •    Defendants’ Objection to 29:13-30:11.

       •    Defendants’ Objection to 85:22-86:14.

       •    Defendants’ Objection to 98:4-99:5.

   The following objections to Parties’ Designations on the Transcript of Leah Giovan’s

September 29, 2023, Deposition Testimony are SUSTAINED IN PART:

       •    Defendants’ Objection to 28:2-28:14 is SUSTAINED as to 28:7-28:14 and

            OVERRULED as to 28:2-28:6.

       •     Plaintiff’s Objection to 46:3-46:23 is SUSTAINED as to 46:6-46:23 and

            OVERRULED as to 46:3-46:5.

   The remaining objections are OVERRULED.
Case 1:21-cv-01417-JPM Document 586 Filed 05/13/24 Page 2 of 2 PageID #: 28612




      IT IS SO ORDERED, this 13th day of May, 2024.

                                               /s/ Jon P. McCalla
                                             JON P. McCALLA
                                             UNITED STATES DISTRICT JUDGE




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